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                    UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF LOUISIANA
                                          )
MADELINE MEAD,                            )   Civil Action No.: 5:18-cv-1313
                                          )
            Plaintiff,                    )   Judge:
                                          )
             v.                           )   Magistrate:
                                          )
SANTANDER CONSUMER USA,                   )
INC.,                                     )
                                          )
            Defendant.                    )
                                          )



             COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, MADELINE MEAD (“Plaintiff”), by and through her attorneys,

Scott, Vicknair, Hair & Checki, LLC, alleges the following against SANTANDER

CONSUMER USA, INC. (“Defendant”):

                              INTRODUCTION

      1.    Plaintiff’s Complaint is based on the Telephone Consumer Protection

Act, 47 U.S.C. § 227, et seq. (“TCPA”).

                         JURISDICTION AND VENUE

      2.    This Court’s jurisdiction arises under 28 U.S.C. § 1331, which
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grants this Court original jurisdiction of all civil actions arising under the laws of the

United States. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L.

Ed. 2d 881 (2012).

      3.     Defendant conducts business in the State of Louisiana therefore

personal jurisdiction is established.

      4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                        PARTIES

      5.     Plaintiff is a natural person residing in Bossier City, Louisiana.

      6.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

      7.     Defendant is a company with its principal place of business located at

601 Elm Street, Suite 800, Dallas, Texas 75201.

      8.     Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39).

      9.     Defendant acted through its agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.

                            FACTUAL ALLEGATIONS

      10.    Plaintiff has a cellular telephone number.

      11.    Plaintiff has only used this number as a cellular telephone number.

      12.    Beginning in or around November 2015 and continuing through

November 2017, Defendant called Plaintiff’s cellular telephone number repeatedly.
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      13.    Defendant called Plaintiff from telephone numbers including, but not

limited to, 888-222-4227.

      14.    When contacting Plaintiff on her cellular telephone, Defendant used an

automatic telephone dialing system and/or pre-recorded or artificial voice.

      15.    Plaintiff knew Defendant was using an automatic telephone dialing

system as calls would begin with either a noticeable delay or silence with no caller

on the line before a live representative would come on the phone or the call would

terminate.

      16.    Defendant’s calls were not for emergency purposes.

      17.    In around January 2016, Plaintiff told the Defendant to stop calling her.

      18.    Defendant ignored Plaintiff’s request to stop calling and continued to

call her repeatedly forcing her to make additional requests that they stop calling that

were also ignored.

      19.    Plaintiff found Defendant’s repeated calls to be frustrating, annoying,

harassing, invasive, and upsetting.

      20.    Upon information and belief, Defendant conducts business in a manner

which violates the Telephone Consumer Protection Act.

                               COUNT I
                     DEFENDANT VIOLATED THE TCPA

      21.    Plaintiff incorporates the foregoing paragraphs as though the same were

set forth at length herein.
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      22.    Defendant initiated automated calls to Plaintiff using an automatic

telephone dialing system and/or artificial or pre-recorded voice.

      23.    Defendant’s calls to Plaintiff were not made for “emergency purposes.”

      24.    After Defendant was told to stop calling, Defendant knew or should

have known it did not have consent to call and/or that any consent it thought it had

was revoked.

      25.    The acts and/or omissions of Defendant were done unfairly, unlawfully,

intentionally, deceptively, fraudulently, and absent bona fide error, lawful right,

legal defense, legal justification, or legal excuse.

      26.    As a result of the above violations of the TCPA, Plaintiff has suffered

the losses and damages as set forth above entitling Plaintiff to an award of statutory,

actual, and treble damages.

      WHEREFORE, Plaintiff, MADELINE MEAD respectfully prays for

judgment as follows:

               a. All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);

               b. Statutory damages of $500.00 per violative telephone call pursuant

                  to 47 U.S.C. § 227(b)(3)(B);

               c. Treble damages of $1,500.00 per violative telephone call pursuant

                  to 47 U.S.C. § 227(b)(3);

               d. Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);
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               e. Any other relief deemed appropriate by this Honorable Court.

                          DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that Plaintiff MADELINE MEAD, demands a jury

trial in this case.



Dated: October 5, 2018                 Respectfully submitted,

                                       By: /s/ Samuel J. Ford
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